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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:
                                                               Chapter 15
                                                 1
    NEXTPOINT FINANCIAL INC., et al.,
                                                               Case No. 23-10983 (TMH)
             Debtors in a foreign proceeding.
                                                                (Jointly Administered)




In re:                                                          Chapter 15

LM BP Holdings, LLC,                                            Case No. 23-11660 (TMH)

             Debtor in a foreign proceeding.                    (Joint Administration Requested)


          NOTICE OF (A) FILING OF CHAPTER 15 PETITION AND RELATED
         CHAPTER 15 DOCUMENTS SEEKING RECOGNITION OF CANADIAN
      PROCEEDING AS FOREIGN MAIN PROCEEDING OR IN THE ALTERNATIVE
        FOREIGN NON-MAIN PROCEEDING AND (B) RECOGNITION HEARING

       PLEASE TAKE NOTICE that on October 2, 2023 (the “Petition Date”), NextPoint
Financial Inc., as the duly authorized foreign representative (the “Foreign Representative”)
with respect to the foreign proceedings, Case No. 5-235288 (the “Canadian Proceedings”),
involving LM BP Holdings, LLC (the “Debtor”) in the Supreme Court of British Columbia (the
“Canadian Court”) for which an order was entered recognizing its application on September 19,
2023, pursuant to the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended,
the “CCAA”), filed an Official Form 401 Petition for the Debtor [D.I. 1] (the “Chapter 15
Petition”) under chapter 15 of title 11 of the United States Code (the “Bankruptcy Code”)
commencing a proceeding ancillary to the Canadian Proceeding under Case No. 23-11660 (the
“Chapter 15 Case”), and the Motion of Authorized Foreign Representative for a Final Order (I)
Granting Chapter 15 Recognition and Related Relief, and (II) Directing that Certain Orders in

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  The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile,
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116);
360 Accounting Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition
LLC (6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132);
MMS Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC
(N/A); LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810);
InsightsLogic, LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500
Grapevine Hwy, Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700,
Vancouver, BC V6E 4E5.

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the Chapter 15 Case of NextPoint Financial Inc. Be Made Applicable to Additional Debtor in
Subsequently Filed Case [D.I. 3] (the “Recognition Motion”), seeking recognition of the
Canadian Proceeding as a foreign main proceeding within the meaning of chapter 15 of the
Bankruptcy Code and application of certain orders (the “Existing Orders”) entered in those
chapter 15 cases jointly administered as In re NextPoint Financial Inc., et al., Case No. 23-10983,
along with the Declaration of Peter Kravitz in Support of the Foreign Representative’s Motion
for Entry of an Order (I) Granting Chapter 15 Recognition and Related Relief, and (II) Directing
That Certain Orders in the Chapter 15 Case of NextPoint Financial Inc. Be Made Applicable to
Additional Debtor in Subsequently Filed Case [D.I. 4] (the “Kravitz Declaration”) in support.
True and correct copies of the Chapter 15 Petition, Recognition Motion, Kravitz Declaration, and
the Existing Orders are available for free on the public website maintained by the Debtors’
noticing agent, Stretto, Inc. [https://case.stretto.com/nextpoint].

         PLEASE TAKE FURTHER NOTICE that copies of the Chapter 15 Petition, related
filings in the Chapter 15 Case, and the Existing Orders are also available (a) for a fee via PACER
by visiting http://ecf.deb.uscourts.gov/ (a PACER login and password are required to retrieve a
document), or (b) upon written request (including by e-mail) to counsel to the Foreign
Representative, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100 Wilmington, Delaware
19801, at the address listed below.

       PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court scheduled a hearing
for November 6, 2023 at 11:00 a.m. (prevailing Eastern time) before the Honorable Thomas M.
Horan (the “Recognition Hearing”) on the Chapter 15 Petition to consider the recognition of the
Canadian Proceeding as foreign main proceeding and give full force and effect to orders entered
in the Canadian Proceeding and related relief in accordance with the relief requested in the
Recognition Motion, including application of the Existing Orders to the Debtor.

        PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a
response, answer, or objection to the Chapter 15 Petition or Recognition Motion must do so in
accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the
Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware, and such response, answer, or objection must (a) be in writing, (b) set forth
in detail the factual and legal bases therefor, (c) be filed with the United States Bankruptcy Court
for the District of Delaware, Office of the Clerk of the Court, 824 Market Street, Wilmington,
Delaware 19801, and (d) be served upon counsel for the Foreign Representative, DLA Piper
(US) LLP, 1201 N. Market Street, Suite 2100 Wilmington, Delaware 19801 (Attn: R. Craig
Martin, Esq. [craig.martin@us.dlapiper.com]), and 1251 Avenue of the Americas, New York,
New York 10020 (Attn: Rachel Ehrlich Albanese, Esq. [rachel.albanese@us.dlapiper.com] and
Jamila Justine Willis, Esq. [jamila.willis@us.dlapiper.com]), so as to actually be received no
later than October 30, 2023 at 4:00 p.m. (prevailing Eastern time).

      PLEASE TAKE FURTHER NOTICE that hearings in this matter, including the
Recognition Hearing, shall take place at the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that all parties in interest opposed to the
Chapter 15 Petition or the Foreign Representative’s request for relief in the Recognition Motion
must appear at the Recognition Hearing at the time and place set forth herein, which may be
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adjourned from time to time without further notice except for an “in court” announcement at the
Recognition Hearing or a filing on the docket of the Chapter 15 Cases of the date and time to
which the Recognition Hearing has been adjourned.

       PLEASE TAKE FURTHER NOTICE that at such hearing the Court may order the
scheduling of a case management conference to consider the efficient administration of this
chapter 15 case.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
read the Recognition Motion carefully and discuss it with your attorney, if you have one in
connection with this chapter 15 case. If you do not have an attorney, you may wish to
consult one.

       PLEASE TAKE FURTHER NOTICE that unless later ordered by the Bankruptcy
Court, any claims process for the Debtors will occur as part of the Canadian Proceeding and not
in connection with the Chapter 15 Case.

     PLEASE TAKE FURTHER NOTICE THAT IF NO RESPONSES OR OBJECTIONS
ARE RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT
MAY GRANT THE RELIEF REQUESTED BY THE FOREIGN REPRESENTATIVE
WITHOUT FURTHER NOTICE OR HEARING.

Dated: October 5, 2023              Respectfully submitted,
Wilmington, Delaware
                                    DLA PIPER LLP (US)

                                    /s/ R. Craig Martin
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                                    -and-

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                                    admitted)
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                                           jamila.willis@us.dlapiper.com

                                    Counsel to the Foreign Representative

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